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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division
lntersections lnc. and Net Enforcers, lnc.,
Plaintiffs,
v. Civil Action No. l:O9CV597 (LMB/TCB)

Joseph C. Loomis and Jenni l\/l. Loomis,

Defendants.

 

 

DEFENDANT’S MEMORANDUM IN SUPPORT OF
MOTION FOR PARTIAL SUMMARY JUDGMENT

Comes now Defendant Joseph C. Loomis (“Mr. Loomis”), by counsel, and moves this
Honorable Court for partial summary judgment as to Counts l, lll, V and Vll of Plaintiffs’
Complaint, as Well as to Plaintiffs’ request for rescission Mr. Loomis states as follows in
support thereof:

INTRODUCTION

As this Court lmows, Plaintiffs have vigorously attempted to short-circuit the trial process
by alleging a multitude of acts of misconduct by Mr. Loomis that they contend are grounds to
enter judgment against him.l Among the reasons for this Honorable Court to deny such relief is
the fact that Plaintiffs’ claims suffer from great infirmity, both as a matter of law and on the
actual, underlying facts The Court’s attention is respectfully directed to the following points

and authorities

 

l Magistrate Judge Buchanan, in a Repoit and Recommendation dated March l7, 201 l, has
recommended entry of default judgment Docl<et No. 264. Exceptions to this R&R Will be forthcoming

 

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I. COUNTS AND CLAIMS SUBJECT TO SUMMARY JUDGMENT
Fraaa’-Basea’ Claiins. Count I (federal securities fraud under 15 U.S.C. §78j(b)), Count
lll (common law fraud) and Vll (conspiracy to commit common law fraud) all have a basic set
of facts in common. Thus, if there is no legal fraud as a matter of law, all of these claims fail.
As alleged in 12 of the Complaint, Plaintiffs summarize their allegations of fraud as
follows:

ln November 2007, lntersections entered into a Stock Purchase Agreement (the
“SPA”) with NEl [Net Enforcers, Inc.] and Defendant Joseph C. Loomis
(“Loomis”), the sole shareholder and then CEO of NEI, to purchase all of NEl’s
stocl<. The acquisition followed several months of due diligence by lntersections
into NEl’s business and financial condition Loomis and Defendant Jenni M.
Loomis, his sister, who was NEl’s bookkeeper, provided Intersections with
financial information indicating that NEl’s revenue had increased dramatically
each year since its incorporation - a trend that Loomis represented would
continue after the acquisition Defendants also provided lntersections with a list
of NEl’s top customers and the amounts of revenue generated by each annually.
lntersections relied upon and based its valuation and purchase price, in large part,
on the financial and customer base provided by Defendants. Loomis agreed to
and did make numerous representations and warranties in the SPA regarding
NEl’s financials, tax liabilities, and significant customers In reliance an Laomis’
representations ana’ warranties in the SPA, lntersections paid Loomis $14 million
in cash, stock options, and up to $3.5. million in Earnout'Payments, totaling as
much as $20 million. [Cmplt. ‘HZ; emphasis added]

Plaintiffs rest their fraud claim on the contention that l\/lr. Loomis’ “numerous
representations and warranties in the SPA” were false. However, we show below that recent
Virginia Supreme Court precedent negates the ability of a plaintiff to allege and pursue claims of
common law fraud where the duties at issue are rooted in a contract Here, the duties admittedly
and undeniably flow from the SPA (as seen by the italicized language from the Complaint,
above). Furthermore, lntersections’ corporate representative admitted in a 30(b)(6) deposition
that the company’s alleged “reliance” was founded, in material part, on the warranties and

representations in the SPA. Thus, judgment must be entered for Mr. Loomis on Count Ill

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(common law fraud) and Count Vll (conspiracy to common law commit fraud) because, at best,
there is only an alleged breach of contract under Virginia law. Moreover, Plaintiffs cannot deny
that they had ample opportunity to review all data and information that they claim was material
to their purchase of Mr. Loomis’ company. Thus, they cannot establish reasonable reliance as a
matter of law. This mandates judgment on Counts lll and Vll, again, as well as on Countl
(federal securities fraud).

Breach ofFia’aciary Daty. ln Count V, Plaintiffs allege that l\/lr. Loomis was employed
by Net Enforcers as its CE() following the “Closing Date” whereby lntersections purchased Net
Enforcers. Accordingly, Plaintiffs allege that Mr. Loomis owed Net Enforcers common law
duties of loyalty ex contracia, or outside of an employment contract There is no dispute,
however, that Mr. Loomis was only an employee by virtue of a “for-cause” employment contract
dated November 30, 2007. Under Virginia law, there can be no tort for breach of fiduciary duty
under these circumstances

Rescissian. Plaintiffs seek rescission as a remedy. ln particular, Plaintiffs seek damages
for rescission under the SPA in the amount of $14,00(),()0(). This claim cannot stand, however,
because Plaintiffs have recently sought to enforce the same Stock Purchase Agreement against
l\/lr. Loomis in another federal court. Because a party cannot affirm a contract and then renounce
it later, summary judgment should be granted as to Plaintiffs’ claim for rescission
II. STATEMENT OF UNDISPUTED MATERIAL FACTS

l. Mr. Loomis was “the president and sole shareholder of [Net Enforcers, lnc.]” as of
June 2007. Cmplt. jjl& EXh. B, Loomis Declaration (“L. Dec.”), ‘j[l.

2. Jenni Loomis, the other Defendant in this case, was a Net Enforcers employee and

served as its bookkeeper. Cmplt. 1194 L. Dec. 1l2.

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3. On November 9, 2007, lntersections, Net Enforcers and l\/lr. Loomis entered into a
Stock Purchase Agreement (the “SPA”), EXhibit A hereto, whereby lntersections was to
purchase the stock of Net Enforcers from Mr. Loomis. Cmplt., 112 and EXh. A (SPA); L. Dec. 13.

4. The Recitals and the first paragraph of the SPA indicate that lntersections “desires to
purchase and acquire” from l\/lr. Loomis all of his stock in Net Enforcers “upon the terms and
subject to the conditions set forth in this Agreement and related documents to be executed and
delivered.” SPA at p. l; L. Dec. 114.

5. The sale did not take place at the same time as the SPA was signed; rather a “Closing
Date” was set within 3 business days of 2007. SPA at §1.2; L. Dec. 115.

6. The conditions of SPA Section 7 included, among others, several warranties,
representations and promises, including the following:

(a) Mr. Loomis agreed in the SPA that “[his] representations and warranties . . . shall
be accurate in all material respects . . . as of the a'ate of this Agree)nent and as of
the Closing [both of which dates are post-contractual] “as if made an ana’ as of the
Closing (other than representations and warranties which by their express terms
are made as of a specified earlier date, which shall be accurate as of such
specified earlier date) [of which there are none that are relevant here].” SPA
§7.3(a) (emphasis added).

(b) lntersections insisted that it had a right to complete, before closing, “inter.views
with the customers of [Net Enforcers] listed on Schedule 7.3(e)(ii) [i.e. , including
Net Enforcers customers who, Net Enforcers alleges it learned 18 months or more
later, were no longer customers]. SPA §7.3(e)(iii).

(c) Mr. Loomis agreed that there would be no “l\/laterial Adverse Effect” to the
business of Net Enforcers as of Closing, meaning no event had occurred that
might negatively Net Enforcers since December 3 l, 2006. SPA §7.3(f) and p. 60
(definition).

(d) l\/lr. Loomis had to sign an Employment Agreement at Closing which is at issue
in this case. SPA §7.3(]')(1).

 

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(e) l\/lr. Loomis had to “deliver to Parchaser a complete set of[Net Enforcer ’s] quick
books [sic] application updated to a date reasonably acceptable to
[Intersections]. SPA §7.3(m) (emphasis added). [These are the very financials
which are the basis for the alleged claims of fraud in this case; L. Dec. 116.]

7. Before the SPA was signed, lntersections undertook extensive “due diligence”
whereby it undertook to investigate all manner of financial, customer and other information
provided by l\/lr. Loomis for Net Enforcers L. Dec. 17; See Exh. C, INTX Corp. Depo. 86-87;
89-91; 140-41.

8. lntersections required l\/lr. Loomis, on behalf of Net Enforcers, to attach all of the
paperwork that lntersections considered material to the purchase to the SPA as “Schedules.” L.
Dec. 118; See generally SPA.

9. ln the SPA, Mr. Loomis had to represent, on behalf of Net Enforcers, that Schedule
2.7 to the SPA contained “complete and correct” financial statements for Net Enforcers for years
2005, 2006 and through September of 2007. SPA §2.7; L. Dec. 19.

10. In the SPA, l\/lr. Loomis also had to represent, on behalf of Net Enforcers, the
complete list of contracts that he had with third parties SPA §Z.'l 8; L. Dec. 110

ll. ln the SPA, Mr. Loomis had to identify, on behalf of Net Enforcers, the “Top 20
Customers by Revenue” for the period ending June 30, 2007. SPA §2.23 and Schedule 2.23.
This was the same list of customers that lntersections insisted it had a right to interview. See
16(1>), above? L. Dec. 111 1.

12. ln the SPA, Mr. Loomis had to identify, on behalf of Net Enforcers, all of the

“Accounts and Notes Receivable” of lntersections SPA §2.24 and Schedule 2.24. L. Dec. 112.

 

2 Of course, Plaintiffs now contend that this list was intentionally misstated and that certain customers
had ceased being customers While Mr. Loomis denies that any information was intentionally
misleading, Plaintiffs could have determined the status of any customer with a phone call.

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l3. ln the SPA, l\/lr. Loomis had to make warranties and representations about the status
of tax matters and to account for a number of key tax transactions SPA §2.11 and Schedule
2.ll;L.Dec.1ll3.

l4. Plaintiffs reserved to themselves the right to investigate all of the foregoing data after
the SPA was signed but before the Closing Date. See 111117-18, below. L. Dec. 114

15. ln SPA at §2.31, Mr. Loomis also agreed to a “catch-all” provision, on behalf of Net
Enforcers, that all of the data he delivered to Plaintiffs in the SPA’s schedules was not materially
misleading Nowhere was l\/lr. Loomis asked to represent or warrant that any data conveyed
prior to the date of the SPA was complete and accurate in all material respects Rather, the SPA
sought to bring all data together in the contract and to set benchmark dates - by contract ~ as to
the accuracy of any information so delivered lndeed, the “catch-all” warranty and
representation specifically contemplated that the prior information might not have been fully
complete or accurate (see italicized language, below). Thus, it was in the SPA that lntersections
sought assurances that it was complete and accurate:

No representation or warranty made by [l\/lr. Loomis or Net Enforcers] contained
in this Agreement, and no statement contained in or as any schedule hereto
delivered by [l\/lr. Loomis or Net Enforcers] or in any certificate, list or other
writing attached hereto delivered by [Mr. Loomis or Net Enforcers] or delivered
by [l\/lr. Loomis or Net Enforcers] pursuant to Article 7 hereof, contains any
untrue statement of material factor omits to state a material fact necessary in
order to make the statements herein or therein, in the light of the circumstances
under which they were made, not misleading Seller has delivered to Purchaser
all such financial, operating, technical and product data and other information,
materials and Books and Records as Purchaser from time to time has requested
(as so delivered, the “Delivered lnformation”), and Seller has not failed to
provide to Purchaser any other financial operating technical or product data or
other information materials or Books and Records which is material or otherwise
necessary in order to make any of the Delivered [nformation (or any
representation or warranty made by Seller or the Company contained in this
Agreement, or any statement contained in or as any schedule hereto delivered by
Seller or the Company or in any certificate list or other writing delivered by
Seller or the Company or Delivered by Seller or the Company pursuant to Article

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7) not misleading Notwithstanding anything herein to the contrary, all financial,
operating, technical or product data or other information, materials or Books and
Records delivered by Seller or the Company to Purchaser at any time during the

period beginning on October 27, 2007 and ending on the date of this Agreement

had been delivered to Seller prior to such period. [SPA, 1]2.31; L. Dec. 1115]

l6. Of like effect is SPA §7.2(a), which states that all “representations and warranties”
made in the SPA must “be accurate in all material respects.” L. Dec. 1116.

l7. Plaintiffs were also expressly unwilling to rely on Mr. Loomis’ word, reserving to
themselves a right to conduct due diligence for up to 5 0+ days after the SPA was signed but
before the Closing Date. SPA §1.2; L. Dec. ‘\ll7.

18. lndeed, Plaintiffs specifically required l\/lr. Loomis to give them “full access” to all
physical facilities of Net Enforcers prior to the Closing Date, and to further allow full access to
“all Books and Records,” including all financial data of any kind or character. They also
repeated the demand and, indeed, required l\/lr. Loomis to agree that Plaintiffs could interview
any customers or others as lntersections saw fit. SPA §6.1; L. Dec. TIlS.

l9. All representations andwarranties were deemed made as of the contract date. SPA
§8.2(a)(i); L. Dec. ‘Hl9.

20. Beyond shepherding and cataloging all representations and warranties in one. place
(the SPA), and making them effective as of the date of the SPA and thereafter (some survived
forever and some for a year after the Closing Date, see SPA, Art. 8), the SPA contained an
integration clause that provided that any prior “agreements or understandings” were of no effect
because the SPA was an integrated, final agreement:

This Agreement and the Exhibits and Schedules hereto, including the Non-

disclosure Agreement to the extent incorporated herein by reference pursuant to

Section 6.3(a) hereof, constitute the entire Agreement among the parties with

respect to the subject matter hereof and supersede all prior agreements and
understandings both written and oral, among the parties with respect to the

 

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subject matter hereof (including the Letter of lntent dated August 20, 2007
between the Company and Purchaser). SPA §10.2; L. Dec. 1{20.

2l. As noted, the SPA was signed on November 9, 2007. L. Dec. 1j2l.

22. On or after November 9, 2007, l\/lr. Loomis sent all of the materials and data required
by the SPA to Plaintiff lntersections’ headquarters in Chantilly, Virginia. L. Dec. 1122

23. On or after November 9, 2007, but before the Closing Date, Plaintiff lntersections
conducted “due diligence” as to matters concerning customers, equipment, accounts and
financial data. L. Dec. 1123.

24. The “Closing Date” occurred on November 30, 2007. SPA, page following signature
pages (“Closing Certificate”). L. Dec. 1124.

25. Prior to the Closing Date, Plaintiffs had every opportunity to conduct whatever due
diligence they wanted to. However, they contacted only a handful of customers, and it is not
known what, if any, financial due diligence was undertaken with the volumes of data they
demanded Exh. C, INTX Corp. Dep. at 89 (corporate representative admits that “as part of the
SPA we contacted approximately half of those customers or attempted to contact approximately
half of those customers as a part of the due diligence”); p. 293 (admitting that four clients who
were allegedly no longer clients as of closing were never contacted by lntersections); L. Dec.
jj25.

26. The SPA provided that Plaintiffs could “reach back” and amend the purchase price
up to 90 days after the “Closing Date” if they discovered adverse changes in the Net Enforcers
business or its “Assets,” a term of art defined to include “accounts” and all other income of Net
Enforcers SPA §1.4 (“Potential Price Adjustments”); L. Dec. 1126.

27. l\/lr. Loomis was paid the full $14,000,000 purchase price on or about November 30,

2007 less related closing costs and legal expenses L. Dec. 1127

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28. Plaintiffs’ Complaint admits that the SPA was the focal point of all “representations
and warranties” that have any meaning in this case. The following paragraph numbers are from
the Complaint herein:

a. 1l2: “Loomis agreed to and did make numerous representations and warranties in the
SPA regarding NEl’s financials, tax liabilities, and significant customers In reliance on
Loomis’ representations and warranties in the SPA, lntersections paid Loomis $14,000,000 in
cash, stock options, and up to $3.5 million in Earnout payments, totally as much as $20 million.”
[Emphasis added.]

b. 118: Plaintiffs “learned that Loomis and his sister had conspired to and did knowingly
and willfully misrepresent material information regarding NEl’s financials and customer base to
lntersections pre-Closing.” As noted, “Closing” occurred after formation of the SPA.

c. ‘\l8, first bullet point: Loomis certified four “revenue generating customers” “in the
SPA” but it turned out they were no longer customers

d. 118, second and third bullet points: Loomis provided documents “pre~Closing” that
falsely inflated revenue. Again, this data was part of the SPA.

e. 1[8, fourth bullet point: Loomis breached a tax representation made “in the SPA.”

f. 18, fifth bullet point: Loomis breached another tax representation made “in the SPA.”

g. 123: confirms that the SPA required that the “financials [l\/Ir. Loomis] and Jenni
Loomis provided and upon which the purchase price was in large part based [had to be] complete
and correct (SPA, Section 2.7).”

h. 124: confirms that in the SPA, “Loomis provided a list of NEl’s top 20 customers by

revenue generated (SPA, Schedule 2.23) and represented that none had terminated its contract

 

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with NEI or notified Loomis of its intent to terminate its contract with or materially reduce its
purchases from NEI (SPA, Section 2.23).”

i. 125. Lists various customers cited in “(SPA, Schedule 2.23).”

j. 126. Cites the SPA as the basis for misrepresentations about tax forms

k. 15l. Cites the SPA as the basis for misrepresentations about customers

l. 1152-55. Cites specifics to bolster the allegations in 118 and 23-26 that Mr. Loomis
breached representations contained in the SPA.

m. 167. Alleges that “Loomis has materially breached the terms of the Stock Purchase
Agreement by, among other things, breaching the Representations and Warranties contained
therein.”

29. After lntersections acquired Net Enforcers, it entered into an employment contract
with l\/lr. Loomis as of the Closing Date (November 30, 2007). Cmplt. 131; L. Dec. 128.

30. The Employment Contract is attached to the Complaint as Exh. 2.

31. The Employment Contract prescribes the conduct that is allowed and not allowed by
l\/Ir. Loomis Id. at Exh. 2.

32. After the closing, Mr. Loomis was employed by Net Enforcers, and served as CEO
of Net Enforcers, solely by virtue of the Employment Agreement. See Employment Agreement.

33. Under the Employment Contract, l\/lr. Loomis was not an at-will employee. Id.

34. Both Mr. Loomis and Jenni Loomis were employed by Net Enforcers at all relevant

times, as CEO and bookkeeper, respectively L. Dec. 129.

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Facts Related To Rescission Only

35. The SPA contains a non-competition agreement (“Restrictive Covenant”) that
provides as follows

For a period commencing upon the Closing and ending on the later of (x) the third

anniversary of the Closing and (y) the date the final payment of the Earnout is

made, Seller shall not anywhere in the United States, directly or indirectly,

without the prior written consent of Purchaser: (i) engage or participate, directly

or indirectly, either as principal, agent, employee, employer, consultant,

stockholder, director, officer, partner or in any other individual or representative

capacity whatsoever, in the conduct or management of, or own any stock or other

proprietary interest in, any business or enterprise that conducts business or

operations which are the same as or substantially similar to the Business [of NEI]

. . . or (ii) solicit, hire or employ, or cause any other Person to solicit, hire or

employ any employee or contractor then retained or employed by [NEI] or

[INTX] or retained or employed by [NEI] or [INTX] within the one-year period

immediately prior to such solicitation, hiring or employment [See Exh. A, p. 35.]

36. On or about May 27, 2009, Plaintiffs filed this action against l\/lr. Loomis and his
sister, Jenni Loomis

37. In the Complaint’s prayer for relief, Plaintiffs request rescission of the SPA and the
full amount of the initial purchase price of l\/Ir. Loomis’ stock: $l4,000,000. Cmplt. at p. 23.

38. On or about January 26, 2010, Mr. Loomis filed for bankruptcy in the United States
Bankruptcy Court for the District of Arizona (the “Bankruptcy Court”) under Chapter ll. of the
United States Bankruptcy Code (reorganization). ]n re.' Joseph C. Loomis, Debtor, Case No.
2:10bk01885, Chapter ll Voluntary Petition, Exh. D, Bankruptcy Petition; L. Dec. 130.

39. On or about April 26, 2010, the automatic stay imposed under the Bankruptcy Code
was lifted for the limited purpose of allowing this Honorable Court to determine whether an
alleged settlement agreement between the parties was enforceable Plaintiffs contended that it

was enforceable; l\/lr. Loomis denied that it was enforceable Tliis Honorable Court found in

favor of Mr. Loomis on this issue. Docket No. 2l7, Order dated November 3, 2010; L. Dec. 13 l.

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40. Wliile the settlement question was being briefed by both sides in this Court, Plaintiffs
filed a paper that took the position that the Restrictive Covenant was fully enforceable, but that it
would expire by its own terms on November 30, 2010. Exh. E, Plaintiffs’ Response to
Defendants’ Obj ections to Magistrate Judge’s Report and Recommendation, p. l9; L. Dec.132.

4l. On or about October 6, 2010, l\/lr. Loomis began what is known as an adversarial
proceeding in the Bankruptcy Court requesting a declaratory judgment that the Restrictive
Covenant in the SPA had expired and/or was non-enforceable Joseph C. Loomis v.
lntersections Inc., et al. , Adversary Pr. 2:10apl796, Exh. F, Complaint for Declaratory
Relief/Judgment; L. Dec. 133. On or about December 13, 2010, Mr. Loomis filed a
l\/lemorandum in Support of his position. Exh. G, Memorandum of Points and Authorities in
Support of Debtor Joseph C. Loomis’ Motion for Summary Judgment. L. Dec. 133.

42. Specifically, l\/lr. Loomis took the position that the Restrictive Covenant was
unenforceable or, in the alternative, that Plaintiffs had taken the position in this Court that it had
expired no later than November 30,\ 20l0. Exh. E; L. Dec. 134.

43. Plaintiffs responded to l\/lr. Loomis by arguing that their statement in this Court
about the expiration of the restrictive covenant was just a typo. Exh. H, Plaintiffs’ Memorandum
of Points and Authorities in Gpposition to Debtor Joseph C, Loomis’ Motion for Summary
Judgment dated January l2, 2010, p. l4. L. Dec. 135.

44. Not only did Plaintiffs’ not refute the SPA, but they went in the complete opposite
direction and affirmed it by expressly asking the Bankruptcy Court to hold that the SPA’s
Restrictive Covenant remained fully valid and binding upon l\/lr. Loomis Exh. H, pp. 7-l l.

They asked the Bankruptcy Court to rule that he could not work in any “competing business”

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under the SPA’s express terms See id at p. 7. In so doing, they spent several pages vigorously
asserting that the SPA was a binding, existing and valid contract Id at p. 7-11; L. Dec. 136.

45. After the arguments of the parties had been submitted in writing and at argument, the
Bankruptcy Court upheld the validity of the restrictive covenant in the SPA, stating it “accept[ed
Plaintiffs’] argument that the non-compete [in the SPA] is and was valid and enforceable,” but
held for other reasons that the Restrictive Covenant expired on November 30, 2010. Exh. l,
Court’s Order Granting l\/lotion for Summary Judgment and Denying Motion to Dismiss, dated
January 26, 2011, p.2;L. Dec.137.

III. ARGUMENT

A. Standard of Review.

Pursuant to Fed. R. Civ. P. 56, summary judgment should be granted as to some or all of
a parties’ claims when the record reveals that there are no genuine issues as to any material facts
such that the moving party is entitled to judgment as a matter of law. Ross v. Communications
Satellite Corp., 759 F.2d 355 (4th (iii'. 1985). To defeat summary judgment, Plaintiffs “must
identify an error of law or a genuine issue of material fact; [Plaintiffs] cannot create a material
fact by reliance on conclusory allegations or bare denials” Erwin v. United States, 591 F.3d
313, 320 (4th Cir. 2010). See Fed. R. Civ. P. 56(0), (e); Anderson v. Liberty Lobby, Inc., 477
U.S. 242, 256, (1986); see also Bouchat v. Balt. Ravens Football Club, lnc., 346 F.3d 514, 522
(4th Cir. 2003). ln this regard, a material fact is one “that might affect the outcome of the suit
[or the issue] under the governing law.” Anderson, 477 U.S. at 248. “[l]n the absence of
disputed material facts, summary judgment represents a favored mechanism to secure the ‘just,
speedy, and inexpensive determination’ of such issues.” Plett v. United States, 185 F.3d 216,

223 (4th Cir. 1999) (quoting Fed. R. Civ. P. 1). Summary judgment “does not become

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disfavored simply because a case is complex” or because there are some disputed facts
Thompson Everett, Inc. v. National Cable Adver., L.P., 57 F.3d 1317, 1322-23 (4th Cir. 1995).
B. Plaintiffs’ Claims For Common LaW Fraud (Counts III and VII) Fail As A
Matter Of Law Because The Only Source Of Duty At Issue Flows Fr'om The
SPA.

ln Augusta Mutual lnsurance Co. v. Mason, 274 Va. 199, 645 S.E.2d 290 (2007), the
Virginia Supreme Court continued a clear trend of limiting a plaintiff’s ability to sue for fraud
where the alleged duties are, in fact, subsumed in a contract ln that case, an insurance agent
applied for insurance on behalf of a client. ln the application, the agent misstated the nature of a
chimney fiue, claiming that it was tile-lined when it was not. Augusta Mutual lnsurance
Company issued a policy in reliance on the representation that the client’s chimney flue was tile-
lined. When the house burned to the ground, it turned out that the flue was not tile-lined and the
company refused to pay the client’s claim.

When the client sued the insurance company, the insurance company filed a third-party
complaint against the agent alleging breach of contract, fraud and breach of fiduciary duty. The
Supreme Court rejected both the fraud and breach of fiduciary duty claims In doing so, the
Court expanded upon principles that it has been developing steadily since the 1980s ln essence,
the Court held that if the parties have defined their relationship contractually, and if the duties
that constitute the alleged fraud are intertwined with the alleged fraud, the contract will govern
the cause of action. Augusta, 274 Va. at 207-08 (explaining that if resort to a contract must be
had for proof under a cause of action, the action sounds in contract, not tort). For example, even

though the agents’ conduct in making a false application for the client was clearly fraudulent,

and though fraud claims could have survived against the client, the agent’s relationship to the

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insurance company had been defined by a contract, i.e., the underlying agency agreement Thus,
there could be no fraud claims between the insurance company and the agent:

The duties that [the agent] allegedly violated by making fraudulent

representations about the condition of the clients’ flue and by signing [another’s]

name on the Report arose solely by virtue of the Agency Agreement between

Augusta l\/lutual and [the agency].

Augusta, 274 Va. at 206.

The Augusta court cited its prior decision in Richmond Metropolitan Authority v.
McDevitt Street Bovis, Inc., 256 Va. 553, 507 S.E.2d 344 (1998). ln that case, a municipal
authority and a contractor entered into an agreement to build a stadium. The contractor
submitted sworn statements for payment indicating that it had performed its work according to
the plans provided by the authority ln reality, however, the contractor cut corners and the
statements it made to induce payment were fraudulent However, the Virginia Supreme Court
refused to permit the authority to proceed on a fraud theory even though the authority alleged
that fraudulent conduct was inherently outside the four corners of the parties’ contract The
Court noted that the contract defined the basic duties of the contractor and the rights of the
parties Accordingly, the action sounded in contract:

The determination whether a cause of action sounds in contract or tort depends on

the source of the duty violated Because ‘each particular misrepresentation by [the

contractor] related to a duty or an obligation that was specifically required by the .

. . [c]ontract,’ we conclude that the contractor's misrepresentations did not give

rise to a cause of action for actual fraud.

Augusta, 274 Va. at 205 (empliasis added).

Since Augusta, the Court has repeated the foregoing principles at least twice. Dunn

Construction Co. v. Cloney, 278 Va. 260, 682 S.E.2d 943 (2009) (where contractual duties were

the basis for the parties’ relationship, statements made after formation of the contract could not

be legal fraud even though they arguably related to work that arose after initial performance had

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been completed); Abi-Najm v. Concord Condominium, LLC, 280 Va. 350, 699 S.E.2d. 483
(2010),

ln Abi-Najm, the Virginia Supreme Court “recapitulated” the foregoing principles yet
again:

Tort law is not designed to compensate parties for losses suffered as a result of a breach

of duties assumed only by agreement That type of compensation necessitates an analysis

of the damages which were within the contemplation of the parties when framing their

agreement lt remains the particular province of the law of contracts
Abi-Najm, 280 Va. at 360.

ln all of these cases, the Court has not abrogated the principle that a "single act or
occurrence can, in certain circumstances support cause of action both for breach of contract and
for breach of a duty arising in tort.” Augusta, 274 Va. at 205. The key question, in all cases,
however, is whether any duties exist “independent of any duties assumed . . . pursuant to”
contract Abi-Najm, 280 Va. at 361. The teaching of these cases is straightforward lf the
source of the duty allegedly violated stems from a contract, then there can be no independent
claim for fraud. lt is obvious that the analysis must include a reading of the contract at issue,
plus the source of any duties allegedly breached

ln this case, there are at least five key facts before the Court related to the foregoing
issues

First, Plaintiffs have expressly admitted, in the “lntroduction” to this entire lawsuit, that

“in reliance on Loomis’ representations and warranties in the SPA, lntersections paid 814 million

 

in cash, stock options, and up to $3.5 million in Earnout payments, totaling as much as 820
million.” Cmplt. 12. This foundational allegation says it all, and it is dispositive The SPA
could not make it plainer that it was designed to gather all data related to the transaction that had

allegedly been “investigated” by lntersections attach it in an updated form to the SPA as

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Schedules and then have l\/lr. Loomis “warrant and represent” that this data was true, accurate
and complete as of the contract date. Plaintiffs were so skeptical that they reserved to
themselves a post-contractual right, of more than 50 days if necessary, to conduct unrestricted
additional due diligence.

Second, Plaintiffs have little choice but to acknowledge the contractual nature of their
claims As set forth in detail above, the structure of the SPA is obvious Nowhere is there any
affirmation, representation or warranty that any prior provision of data by l\/lr. Loomis was
warranted to be complete and correct, and part of the obvious purpose of the SPA was to bring
updated data together in one place and cause l\/lr. Loomis to bind himself to it. Indeed, the
structure of the SPA shows that it is intended to be the focal point for all data disclosures and

accordingly all warranties and representations made by l\/lr. Loomis - for himself and Net

Enforcers ~ were expressly made in the SPA itself. The SPA even recognizes that updated

information was necessary, thereby showing an awareness on the part of lntersections that it
needed such updated data in order to evaluate whether to complete the transaction

Beyond the many admissions in the Complaint that the SPA is the source of the alleged
misrepresentations lntersections’ corporate representative pointed to the SPA repeatedly when
asked for the source of duties by Mr. Loomis not to misrepresent facts Exh. C, lNTX Corp.
Dep. at p. 71 (pointing to the “stock purchase agreement” as the basis for claim of
misrepresentations about tax matters); p. 141 (noting that deal was entered into because of
confirmatory nature of “representations and warranties and indemnifications” made in the SPA);
192 (“prior to closing, we reviewed the financial statements provided by Mr. Loomis . . . in the
schedules and attachments to the SPA”); p. 292-93 (discussing fact that clients were identified in

schedules attached to the SPA so lntersections could contact them for interviews prior to

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closing); p. 54 (stating that Schedule 2.23 of the SPA was intended to cause l\/lr. Loomis to
identify active clients so lntersections could interview them).

Third, the coup de grace of this situation is that lntersections expressly went to great
lengths to provide itself time to verify the data provided to it by Mr. Loomis lntersections
reserved the specific right to interview top accounts check financials tour facilities and demand
any and all manner of data and information lt set a Closing Date as late as 52 days after the
execution of the SPA in order to have time to conduct its post-disclosure review, and then it
could either back out of the deal or adjust the purchase price. lt did neither.

Fourth, and true to the admission in paragraph 2 of the Complaint, the body of the
Complaint repeats » time and again - what is obvious from the SPA itself; i.e., that Mr. Loomis’
“warranties and representations” are contained in the SPA.

Fifth, the SPA contains an integration clause that states that all pre-SPA “agreements and
understandings” concerning the deal were to be disregarded in favor of the matters expressly set
forth in the SPA itself. This is consistent with everything that has been pointed out above, and
with Plaintiffs’ admission that its alleged damages flow from the SPA only. The SPA (with its
attached Schedules) was designed to be a representation clearinghouse3

Fifth, lntersections’ corporate representative admitted that the decision to buy Net

Enforcers depended upon several factors:

 

3 In this regard, the integration clause could cut both ways One the one hand, it could prevent Mr.
Loomis from defending against any claim that the SPA contained an inaccuracy by arguing that he had
made prior, contrary disclosures On the other hand, what was good for Mr. Loomis was also good for
lntersections it could not contend that something that had been said before the SPA was signed
constituted grounds for legal action since the SPA purported to be the clearinghouse for all data transfers
and since it was only in the SPA that Iiitersections caused Mr. Loomis to make any particular
representations or warranties

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The due diligence [allegedly performed by lntersections], the negotiation of the

SPA, the representations and warranties and indemnifications made by l\/lr.

Loomis [in the SPA] confirmed for us that we could go ahead with the transaction

as it was originally described
Exh. C; lNTX Corp. Dep. at p.l4l. The important point is that lntersections had control over its
own due diligence lndeed, it had a duty to investigate under Virginia law. Harris v. Dunham,
203 Va. 760, 767, 127 S.E.2d 65 (1962); DeJarnette v. Brooks Lumber Co., 199 Va. 18, 29-30,
97 S.E.2d 750 (1957). Beyond that, the record is clear that it was the “representations and
warranties and indemnifications” made in the SPA that pushed the deal from the “possible” into
the “actual” as far as lntersections was concerned; i.e., but-for the “representations and
warranties and indemnifications” in the SPA there, would have been no transaction Therefore,
because lntersections’ Complaint must necessarily rely on the SPA as proof for l\/lr. Loomis’
alleged c‘omission[s] or non-feasance,” (Augusta, 274 Va. at 207-08), the matter collapses into
nothing more than a claim for breach of contract

For all these reasons there can be no fraud claims that survive the reality that this case is
at best, a breach of contract action. Thus Counts lll (fraud) and Vll (conspiracy to commit

fraud) must be removed from this case and judgment entered for l\/lr. Loomis4

C. Judgment Must Be Entered On Counts I, III and VII Because There Was No
Causation Between Any Alleged Fraud And Any Damages.

There must be causation between alleged fraudulent misrepresentations and
damages Richmond Metropolitan Authority v. McDevitt Street Bovis, ]nc., 256 Va. 553,
557-58, 507 S.E.2d 344 (1998); Myers v. Finkle, 950 F.2d 165, 167 (4th Cir. 1991)
(federal securities act, setting forth elements of fraud to include causation). As explained
above, lntersections admitted that it relied upon the contractual representations set forth

in the SPA and that it would not have done the deal with l\/lr. Loomis without them. lt

 

4 Count l, while alleging federal securities fraud, does not fare better than the common law fraud claims

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also alleged in its Complaint that “in reliance on Loomis ’ representations and warranties
in the SPA, lntersections paid Loomis 814 million in cash, stock options and up to 83.5
million in Earnout Payments, totaling as much as 820 million. Cmplt. 12; emphasis
added This illustrates clearly, that the matter at hand is (at best) simply a breach of
contract case and not a fraud case.

D. Judgment Must Be Entered On Counts I, III and VII Because No Party Can
Show Reasonable Reliance Where They Had Ample Opportunity T 0 Investigate.

Common to all claims of fraud in this case is the requirement that a Plaintiff prove that it
reasonably relied on any alleged misrepresentations Harris v. Dunham) 203 Va. 760, 767, 127
S.E.2d 65 (1962); De.]arnette v. Brooks Lumber Co. , 199 Va. 18, 29-30, 97 S.E.2d 750 (1957);
Costello v. Larsen, 182 Va. 567, 571-72, 29 S.E.2d 856 (1944); Myers v. Finkle, 950 F.2d 165,
167 (4th Cir. 1991) (federal securities act); see also Banca Cremi v. Alex Brown & Sons, [nc., 132
F.3d 1017, 1027 (4th Cir. 1997) (federal securities act). The rule is well-settled that a plaintiff
who, after an alleged misrepresentation has been made, undertakes a full investigation of the
misrepresented information cannot claim justifiable reliance. E.g., Harris, supra,' DeJarnette,
supra; Costello, supra. lndeed, a party is also unable to claim reasonable reliance where it
makes a partial inquiry, with a full opportunity for complete investigation, and elects to act upon
the knowledge obtained from the partial inquiry. Harris v. Dunham, 203 Va. 760, 127 S.E.2d 65
(1962). As stated in Harris:

lt may be true that [the purcliaser] did not conduct a complete investigation; that,

although he examined the corporate books records and reports he did not explore

the situation presented thereby and talk to the operators and make an inspection of

the stores He is nonetheless by virtue of the fact that he investigated partially,

bound by all that a complete investigation would have disclosed

Harris, 203 Va. at 767 (emphasis added). Accord DeJarnette, 199 Va. at 29-30; Costello, 182

Va. at 571-72.

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ln this case, Plaintiffs were unwilling to rely solely on representations and warranties
from l\/lr. Loomis This is obvious from the fact that they secured to themselves the right to look
at all of Net Enforcers’ books and records and to interview Net Enforcers’ clients for up to 52
days before actually closing. ln this regard, and by way of example, lntersections admits looking
at financial records attached to the SPA and admits that it only called half of the clients identified
in the SPA to see if they were still active clients Exh. C; INTX Corp. Dep., p. 192 (“prior to
closing, we reviewed the financial statements provided by l\/lr. Loomis . . . in the schedules and
attachments to the SPA”); p. 89 (corporate representative admits that “as part of the SPA we
contacted approximately half of those customers or attempted to contact approximately half of
those customers as a part of the due diligence”); p. 293 (admitting that four clients who were
allegedly no longer clients as of closing were never contacted by lntersections).
Accordingly, it cannot be the case that, as a matter of law, Plaintiffs are entitled to any
judgment for fraud, and judgment should be entered for l\/lr. Loomis on Counts 1, lll and Vll.
E. Judgment Must Be En`tered On Count V Under Virginia LaW Because All Of
Mr. Loomis’ Duties To Net Enforcers After The Closing Date, Were Rooted In
His Employment Agreement.
Count V alleges breach of fiduciary duty by l\/lr. Loomis in connection with acts he
allegedly undertook as CEO of Net Enforcers after that company was purchased by lntersections
ln Augusta Mutual lnsurance, supra, the Virginia Supreme Court stated that where a party’s

relationship with its principal flows from a contract there can be no independent breach of

fiduciary duty claim:

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The law of torts provides redress only for the violation of certain common law

and statutory duties involving the safety of persons and property, which are

imposed to protect the broad interests of society. Filak v. George, 267 Va. 612,

618, 594 S.E.2d 610, 613 (2004). Any fiduciary duty allegedly breached in this

case existed solely because of the contractual relationship between Augusta

l\/lutual and [the agency], and in turn, its employee, [the agent]. Therefore, we

hold that Augusta Mutual failed to assert a valid claim for breach of fiduciary

duties
August Mutual, 280 Va. at 208.

ln this case, there would have been no employer/employee or other agency relationship
between l\/lr. Loomis and Net Enforcers but-for his employment agreement which incidentally
provides for all manner of duties and obligations under the law of contracts Under Augusta
Mutual, therefore, Count V must be dismissed5

F. Count VII Must Be Dismissed Under The Intracorporate Immunity Doctr'ine.

While Count Vll fails because the underlying fraud claim fails it also fails because l\/lr.
Loomis was CEO of Net Enforcers and his sister Jenni was an employee of the same company.
These two individuals therefore, could not possibly conspire together and Count Vll must be
dismissed Secureinfo Corp. v. Telos Corp., 387 F. Supp. 2d 593, 616-17 (E.D. Va. 2005). The
doctrine of intracorporate immunity recognizes that a conspiracy requires two or more persons
and that because a corporation and its agents acting in the scope of their employment comprise a
single legal entity, they are legally incapable of conspiracy Bowman v. State Bank ofKeysville,
229 Va. 534, 540-41, 331 S.E.2d 797, 801 (1985); see also Selman v. American Sports
Underwriters, Inc., 697 F. Supp. 225, 238 (W.D. Va. 1988) (noting that conspiracy between a

corporation and its agents is legally impossible).

 

5 Virginia recognizes outside of contract, a general duty of loyalty owed by an employee to an employer
in an at-will setting. However, Augusta has obviously delimited those duties when, as here, there is an
employment contract

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G. There Can Be No Claim For Rescission In This Case Since Plaintiffs Have
Affir'med The Very Contract (The SPA) They Seek To Rescind.

Courts are reluctant to rescind contracts as doing so is an extreme remedy. See Bonsal v.
Camp, 111 Va. 595, 69 S.E. 978, 979 (1911). While parties may certainly plead remedies in the
alternative when alleging fraud and breach of contract, rescission is unavailable once a party
elects to affirm the underlying contract McLeskey v. Ocean Park Investors, LTD, 242 Va. 51,
55, 405 S.E.2d 846, 849 (1991); Campbell v. Eastern Bldg. & Loan Ass’n ofNew York, 98 Va.
729, 37 S.E. 350, 352 (1900); Durham v. New Amsterdam Cas. Co., 208 F.2d 342, 344 (4th Cir.
1954) (“The law is well settled that one who complains of fraud and deceit has the right either to
rescind what was done as a result of the fraud and deceit, or to affirm what had been done and
sue for damages caused by such fraud He can choose either course, but he cannot choose both.
The two are inconsistent.”). ln other words the “[e]xercise of acts of ownership over the subject
matter of the contract will validate the transaction and terminate the power of avoidance,
regardless of whether the other party has suffered any prejudice.” Gannett Co., Inc. v. Register
Pub. Co., 428 F. Supp. 818, 826 (D. Conn. 1977).

A party’s “election may be manifested by acts as well as by words and, when once made,
is final, and cannot be retracted.” Trammell v. Ashworth, 99 Va. 646, 39 S.E. 593, 595 (1901);
see also Campbell, 98 Va. 729, 37 S.E. at 352. Therefore, if a party “treats the contract as a
subsisting one, he will be deemed to have waived his right of repudiation.” Trammell, 99 Va.
646, 39 S.E. at 595; see also McLeskey v. Ocean Park Investors, LTD, 242 Va. at 55, 405 S.E.2d
at 849 (“lf a party, after discovering facts which would justify rescission, continues to treat the
contract as a subsisting obligation, leading the other party to believe that it is still in effect, the

right to rescind is waived”); Finch v. Garrett, 109 Va. 114, 63 S.E. 417, 418 (1909) (“lf after the

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discovery of the fraud he treats the contract as a subsisting obligation, he will be deemed to have
waived his right of repudiation.”).

To cite but one example, in F inch v. Garrett the plaintiff continued to enjoy the benefits
of the contract that he claimed he had been fraudulently induced to enter into, even after he
discovered the alleged fraud See Finch v. Garrett, supra, 109 Va. 114, 63 S.E. at 418. The
Supreme Court of Virginia, in admonishing the plaintiff for benefiting from the same contract he
was attempting to rescind, noted that plaintiffs actions were “wholly inconsistent with a purpose
or intention of refusing to abide by it.” Id. Thus rescission was not possible See id.

Exactly like the situation in Finch, Plaintiffs have sought to benefit from the provisions
of the SPA. lndeed, Plaintiffs attempted to keep Mr. Loomis from Working in his chosen field
under the Restrictive Covenant contained in that agreement ln arguing to a federal court that the
SPA was valid and Lill enforceable, even after seeking rescission in this Court, Plaintiffs made
an unmistakable election to stand on the SPA and to abandon rescission See, e. g`, McLeskey,
242 Va. at 5 5, 405 S.E.2d at 849 (holding that a party who “maintained the position that [a]
contract was valid, subsisting, and should be enforced” in one action, but then attempted to
rescind that contract in another action, could not attempt to obtain a rescission on the contract).
IV. CONCLUSION.

WHEREFORE, the foregoing premises considered, Defendant Joseph C. Loomis hereby
moves for partial summary judgment as to Counts l, lll, V and Vll and on the claim for relief by
Plaintiffs for rescission, and in all cases he seeks such other and further relief as justice may

require.

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Respectfully submitted

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CERTIFICATE OF SERVICE

l hereby certify that on this 25th day of l\/larch, 2011, 1 have filed a true and correct copy of
the foregoing with the Clerk of Court via the Cl\/l/ECF efiling system which will send notification of

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